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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 WESTERN DISTRICT OF OKLAHOMA

JEREMY VAUGHN PINSON,                       )
                                            )
      Plaintiff,                            )
                                            )
vs.                                         )   Case No. CIV-06-0003-F
                                            )
MIKE MULLIN, Warden, et al.,                )
                                            )
      Defendants.                           )

                                       ORDER
      Plaintiff, a state prisoner appearing pro se, brings this civil rights action
pursuant to 42 U.S.C. § 1983. On January 4, 2006, Magistrate Judge Gary M. Purcell
issued a Report and Recommendation, recommending that this case be transferred to
the United States District Court for the Eastern District of Oklahoma pursuant to 28
U.S.C. § 1406(a) due to improper venue in this court.
      The Report advised that any objection to the Report must be filed by January
24, 2006, and that failure to make timely objection to the Report waives the right to
appellate review of both factual and legal issues contained in the Report.1 Plaintiff has
responded (doc. no. 9), stating that he “was unaware of the improper venue” problem
and that “in the interests of justice [he] moves this honorable court...to dismiss the
case without prejudice to refiling in the proper venue so that the Plaintiff may refile
in the Eastern District of Oklahoma.” Plaintiffs’ pleadings are liberally construed.
In doing so, the court interprets plaintiff’s Response as a statement that he does not
object to the findings and conclusions stated in the Report. Although plaintiff’s
Response asks the court to dismiss the case, the Response also makes clear that


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       The court file does not reflect service on the defendant.
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plaintiff intends to re-file this case in the Eastern District. In these circumstances, the
court finds that it would be beneficial to plaintiff for this court to transfer this case to
the Eastern District of Oklahoma, as proposed by the magistrate judge in his Report,
rather than to dismiss the case and require plaintiff to re-file it as proposed by the
plaintiff in his Response.
       Accordingly, the court hereby AFFIRMS, ACCEPTS, and ADOPTS the
Report in its entirety and ORDERS this case transferred to the Eastern District of
Oklahoma for the reasons stated by the magistrate judge. Plaintiff is advised that the
transfer will be effected immediately by the clerk of this court so that this action will
continue to pend, but in the United States District Court for the Eastern District of
Oklahoma rather than in the United States District Court for the Western District of
Oklahoma.
       Dated this 17th day of January, 2006.




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